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DISTRICT OF DELAWARE
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      23-11161

      Prime Core Technologies Inc.




      Case Type :                       bk
      Case Number :                     23-11161
      Case Title :                      Prime Core Technologies Inc.
      Judge :                           J K. Stickles
      Courtroom :                       5th Floor Courtroom 6, Wilmington, DE
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